
PER CURIAM.
The State of Florida petitions for a writ of certiorari to review an order of the circuit court which found that there is probable cause to believe that the condition of respondent, a Jimmy Ryce Act detainee, has so changed that it is safe for respondent to be at large and that he will not engage in acts of sexual violence if he is released. The matter was therefore scheduled for a non-jury trial in accordance with section 394.918(3), Florida Statutes.
We conclude that petitioner has failed to demonstrate any injury which cannot be remedied by appeal from a final order and therefore the petition for writ of certiorari is denied.
PETITION DENIED.
WEBSTER, PADOVANO and HAWKES, JJ., concur.
